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D. Victoria Baranetsky (Cai. Bar No. 311892)
THE CENTER FOR INVESTIGATIVE
REPORTING

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Emeryville, CA 94608
vbaranetsky(@revealnews.org

Telephone: (510) 982-2890

Attorney for Plaintiff

UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

THE CENTER FOR INVESTIGATIVE
REPORTING,

Plaintiff,

¥.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

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I, D. VICTORIA BARANETSKY, declare:

Case No. 3:17-cv-06557-JSC

DECLARATION OF D. VICTORTA
BARANETSKY IN SUPPORT OF
OPPOSITION TO DEFENDANT'S
MOTION FOR SUMMARY JUDGMENT
AND CROSS MOTION FOR SUMMARY
JUDGMENT

Date: June 28, 2018, 9:00 a.m.
Courtroom: F, 15" Floor
U.S. District Courthouse
450 Golden Gate Avenue
San Francisco, California
Judge: Hon. Jacqueline S. Corley

Complaint Filed: Nov. 13, 2018

1. Taman attorney of record for the plaintiff in this matter and a member in good

standing of the California State Bar, and am admitted to practice before this Court. I have personal

knowledge of the matters stated in this declaration. If called upon to do so, | am competent to

testify to all matters set forth herein.

2. Iam General Counsel at The Center for Investigative Reporting, which is a nonprofit

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established under the laws of California with its principal place of business in Emeryville, CA.

3. Attached hereto as Exhibit | is a true and cotrect copy of a statement from the ATF’s
website: ATF, Whe We Are, available at hitps://bit.ly2mOw4tr.

4, Attached hereto as Exhibit 2 is a true and correct copy of the following report for
Congress: William J. Krouse, Gua Control: Statutory Disclosure Limitations on ATF Firearms
Trace Data and Multiple Handgun Sales Reports 2, May 27, 2009, https://bit.ly/I1WkKHeZI.

5. Attached hereto as Exhibit 3 is a true and correct copy of the following newspaper
article: David Olinger, Police Guns In The Hands Of Criminals, THE DENVER POST, Sept. 20, 1999,
https://dpo.st/2s1kdKP.

6. Attached hereto as Exhibit 4 is a true and correct copy of the following newspaper
article: John Diedrich, Wiped Clean, MILWAUKEE JOURNAL SENTINEL, Jan. 3, 2010,
https://bit.ly/2kfY4nz.

7. Attached hereto as Exhibit 5 is a true and correct copy of the following newspaper
article: John Diedrich & Ben Poston, Ineffective Rules Let Gun Stores Endure, MILWAUKEE
JOURNAL SENTINEL, Dec. 15, 2010, https://bit.ly/2IGKS5Z.

8. Attached hereto as Exhibit 6 is a true and correct copy of the following newspaper
article: James V. Grimaldi & Sari Horowitz, Industry Pressure Hides Gun Traces, Protects Dealers
From Public Scrutiny, WASH, POST, Oct. 24, 2010, https://wapo.st/WDidqts.

9. Attached hereto as Exhibit 7 is a true and correct copy of the following newspaper
atticle: Erica Good & Sheryl Gay Stolberg, Legal Curbs Said to Hamper ATF in Gun Inquiries,
N.Y. TIMES, Dec, 12, 2012, https://nyti.ms/2s0V Inr.

10. Attached hereto as Exhibit 8 is a true and correct copy of an ATF press release: ATT,
Press Release, ATF Releases 2016 US. Firearms Trace Data Report, Sept. 29, 2017,
hitps://bit. ly/2KOkdVr.

11. Attached hereto as Exhibit 9 is a true and correct copy of a fact sheet posted by the
ATF on its website: ATF, Fact Sheet -- eTrace: Internet-Based Firearms Tracing and Analysis
(March 2016), available at https://bit.ly/2LoxMvF.

12. Attached hereto as Exhibit 10 are true and correct copy of excerpts of the City of
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Chicago’s government trace report: City of Chi., Gun Trace Report (2017), available at
https://bit.ly/2y YMtiq.

13. Attached hereto as Exhibit 11 are true and correct copies of excerpts of the following
government report: Office of Attorney Gen. of N.Y., Target on Trafficking: New York Crime Gun
Analysis, 36 (Oct. 24, 2016). The full report is available at https://on.ny.govw/2GIAIA.

14. Attached hereto as Exhibit 12 is a true and correct copy of an excerpt of the following
court filing: Defendant’s Brief in Opposition to Plaintiff's Motion to Supplement the
Administrative Record at 5, n.2, Ron Peterson Firearms, LLC y. Jones, No. 11-cv-00678 (D.N.M.
Mar 30, 2012) (ECF 43),

15. Attached hereto as Exhibit 13 is a true and correct copy of an excerpt of the following
court filing: Defendant’s Brief in Opposition to Intervenor Plaintiff’s Motion to Supplement the
Administrative Record at 5, .2, 10 Ring Precision, Inc., et al. v. Jones, No. 11-cv-00663 (W.D.
Tex. March 26, 2012) (ECF 42).

16. Attached hereto as Exhibit 14 is a true and correct copy of an excerpt of the following
court filing: ATF Administrative Record 0388-0696, Nat’l Shooting Sports Foundation, Inc. v.
Melson, No. 11-cv-01401 (D.D.C. Sept. 12, 2011) (ECF 22-6)

17, Attached hereto as Exhibit 15 is a true and correct copy of the following news article:
Christina Jewett, New California Law Could Keep Guns Away From People Like Omar Mateen,
REVEAL, June 15, 2016, https://bit.ly/2x4I80S.

18. Attached hereto as Exhibit 16 is a true and correct copy of the following news article:
America’s Gun Culture In 10 Charts, BBC.CoM, Nov. 6, 2017, https://bbc.in/2kkm6ka,

19. Attached hereto as Exhibit 17 is a true and correct copy of the following news article:
Max Fisher & Josh Keller, What Explains U.S. Mass Shootings. International Comparisons
Suggest An Answer, N.Y. TIMES, Nov. 7, 2017, https://nyti.ms/2iEcCMga.

20. Attached hereto as Exhibit 18 is a true and correct copy of the following news article:
Dan Friedman, How the Government Makes Gun Records Impossible to Trace, VICE, Sept. 6, 2016,
https://bit.ly/2xXeW2t.

21. Attached hereto as Exhibit 19 is a true and correct copy of the following news article:
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Annie Linskey, NRA Has Long History of Suppressing Data On Gun Violence, BOSTON GLOBE,
Mar. 25, 2018, https://bit.ly/2TY 1B52.

22, Attached hereto as Exhibit 20 are true and correct copies of excerpts of the following
government report: Office of Inspector Gen., Executive Summary, Audit of the Bureau of Alcohol,
Tobacco, Firearms and Explosives Controls Over Weapons, Munitions, and Explosives (2018).
The full report is available at https://bit.ly/2x6nBZC.

23. Attached hereto as Exhibit 21 is a true and correct copy of the following news article:
Jessica Chasmar, Seattle To Destroy $30K In Used Police Guns So They Don’t Get ‘Into The
Wrong Hands’, THE WASH. TIMES, June 30, 2016, https://bit.ly/2LoNjMa.

24. Attached hereto as Exhibit 22 is a true and correct copy of the following news article:
Greg Moran & Lyndsay Winkley, ATF Warns Southern California Law Enforcement Officers May
Be Illegally Selling Guns, SAN DIEGO UNION-TRIBUNE, April 12, 2017, https://bit. ly/20uZuxw.

25, Attached hereto as Exhibit 23 is a true and correct copy of the following news article:
Scott Glover, Scott Bronstein & Drew Griffin, Cop Convicted Of Illegal Gun Dealing Sold Weapon
Used in Murder, CNN.COM, May 2, 2018, https://cnn.it/2jIeHI.

26. Attached hereto as Exhibit 24 is a true and correct copy of the statement of Josh
Horwitz, Executive Director of the Coalition to Stop Gun Violence at the Congressional hearing,
titled Hearing on Restrictions Imposed on the Bureau of Alcohol, Tobacco, Firearms and
Explosives Concerning the Release of Crime Gun Trace Data, 110th Cong. 413 (2007),

27. Attached hereto as Exhibit 25 is a true and correct copy of the statement of Paul
Helmke, then-President of the Brady Center to Prevent Gun Violence at the Congressional hearing,
titled Hearing on Restrictions Imposed on the Bureau of Alcohol, Tobacco, Firearms and
Explosives Concerning the Release of Crime Gun Trace Data, 110th Cong. 413 (2007).

28. Attached hereto as Exhibit 26 is a true and correct copy of excerpts of the records
containing aggregate trace data disclosed by the DOJ through this litigation.

I declare under penalty of perjury of the laws of the State of California that the

foregoing is true and correct to the best of my knowledge and belief.

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Executed May 24, 2018 in Emeryville, California.

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D. Victoria Baranetsky

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